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ATTORNEYS FOR CLAIMANT TALON V. WHITE

IN THE UNITED STATES DISTRICT COURT

 

FOR THE DISTRICT OF OREGON
EUGENE DIVISION
UNITED STATES OF AMERICA, ) Case No. 6:19-cv—00707-BR
Plaintiff,
VS. )
)
) ANSWER AND AFFIRMATIVE
$2,457,790.72 IN FUNDS, et al. DEFENSES TO CIVIL CLAIM FOR
SEIZED PROPERTY
Defendants
)
)
)
TALON V. WHITE,
Claimant )

 

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Claimant Talon V. White (hereinafter “Claimant”), by and through his undersigned
counsel, hereby files his Answer and Affirmative Defenses to the Government's Civil Complaint for

Forfeiture In Rem (hereinafter “Complaint’”) and states:

COUNTS
1. Claimant asserts that the allegations in paragraph 1 of the Complaint consists of legal
conclusions regarding jurisdiction and venue to which no response is required. To the extent the
Court requires a response, Claimant denies that this Court has jurisdiction over this action.
Claimant further lacks information or knowledge sufficient to form a belief as to the truth of the

allegation that acts or omissions giving rise to forfeiture in this district occurred.

IL.

2. Paragraph 2 of the Government’s Complaint is comprised of mixed allegations of law
and fact concerning the property in dispute in this cause of action. Claimant admits that the
Defendants, in rem, in this cause of action are as described in regard to name, quantity and
source of funds (referenced as “Assorted Funds” in the Complaint). However, due to lack of
knowledge and belief, Claimant must deny that the Assorted Funds were physically seized in the
District of Oregon and must further deny the Government’s jurisdictional arguments pertaining

to the Assorted Funds.

Il.

3. Paragraph 3 of the Government’s Complaint consists of conclusory and nonspecific
allegations that the Assorted Funds represent proceeds traceable to a violation of 18 U.S.C. §

2319 (Copyright Infringement), and therefore subject to forfeiture pursuant to 18 U.S.C. § 2323

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and 18 U.S.C. § 981(a)(1)(C). Regarding the legal conclusions contained in this paragraph,
Claimant maintains that no response is required. To the extent the Court requires a response,
Claimant denies all legal conclusions contained in paragraph 3. Claimant further lacks
knowledge or information sufficient to form a belief about the truth of all of the
critical/important factual allegations contained in paragraph 3, including all referenced

declarations of Keith Druffel incorporated therein, and must therefore deny the same.

IV.

4, Paragraph 4 of the Government’s Complaint consists of conclusory and nonspecific
allegations that the Assorted Funds represent property involved in a transaction in violation of 18
U.S.C. § 1957 (Money Laundering), thereby subjecting the funds to forfeiture pursuant to 18
U.S.C. § 981(a)(1)(A). To the extent a response is required, Claimant denies all legal conclusions
contained in paragraph 4. Claimant lacks knowledge or information sufficient to form a belief
regarding the truth of all of the critical/important factual allegations contained in the remainder
paragraph 4, including all incorporated/referenced declarations of Keith Druffel. Accordingly,

Claimant must therefore deny all such factual allegations contained in Paragraph 4.

5. Paragraph 5 of the Government’s Complaint consists of its prayer that its requested relief

is granted. Claimant denies that the Government is entitled to any of the relief requested.

V.
JURY DEMAND
6. Claimant hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

Procedure.

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VI.

AFFIMATIVE DEFENSES

First Affirmative Defense
7. Claimant asserts that Government’s Complaint fails to state a claim for which relief can
be granted.
Second Affirmative Defense
8. Claimant asserts that the Government’s claims are barred, in whole or in part, by the
applicable statute of limitations.
Third Affirmative Defense
9. Claimant asserts that defective notice was provided to Claimant regarding seized
property.
Fourth Affirmative Defense
10. Claimant asserts that the Government’s seizure of his property violates his Fourth
Amendment right to be free from illegal searches and seizures. Claimant further asserts that the
warrant(s) utilized to seize his property were impermissibly vague, based on misleading,
incorrect or illegally obtained information, was otherwise defective and/or improperly executed.
Fifth Affirmative Defense
11. Claimant asserts that the Government’s seizure of his property violates rights afforded to
him under the Fifth Amendment.
Sixth Affirmative Defense
12. Claimant, as an innocent owner, did not know, or have reason to know, that the property

in question was being employed or was likely to be employed in criminal activity.

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Seventh Affirmative Defense
13. Claimant acted in good faith at all times relevant to the Complaint.
Eighth Affirmative Defense
14. Claimant asserts that the Government’s taking of his property violates rights afforded to
him under the Eighth Amendment.
Ninth Affirmative Defense
15. Claimant asserts that the Government cannot obtain a forfeiture judgment because it has
not acted in good faith.
Tenth Affirmative Defense
16. Claimant asserts that the Government cannot establish a substantial connection between
the Property at issue and alleged criminal activity.
Eleventh Affirmative Defense
17. Claimant asserts that the Government cannot obtain its sought forfeiture judgment
because the result would be constitutionally disproportionate.
Twelfth Affirmative Defense
18. Claimant asserts that the Government has failed to identify, segregate and/or trace
property alleged to be tied to criminal activity from other funds of Claimant not alleged to be
involved in criminal activity. As such, the Government is seeking an impermissible windfall.
Reservation of Rights
19, Claimant reserves the right to assert additional affirmative defenses or amend these

affirmative defenses as discovery warrants.

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VIII.
PRAYER
20. Wherefore premises considered, Claimant Talon V. White respectfully prays that the
Court will dismiss the Government’s Complaint, assess all costs against the Government and that
the Court grant such other and further relief, at law or in equity, to which Claimant may prove to

be justly entitled.

Respectfully Submitted July 8, 2019.

/s/ Rain Levy Minns
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rain@rainminnslaw.com
(pro hac vice pending)

/s/_ Kevin W_ Bons
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Attorneys for Claimant White

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ERTIFICATE OF SERVIC

I certify that on July 8, 2019, the undersigned served this document via CM/ECF and/or

USPS in accordance with the Federal Rules of Civil Procedure on the following parties:

Amy E. Potter, AUSA

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Local Counsel for Claimant White

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